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                       IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



IN RE PHARMACEUTICAL INDUSTRY                               MDL NO. 1456
AVERAGE WHOLESALE PRICE
LITIGATION                                                  CIVIL ACTION: 01-CV-12257-PBS

THIS DOCUMENT RELATES TO:                                   Judge Patti B. Saris
ALL ACTIONS



      MOTION TO ADMIT ROHINI A. GANDHI, DANIEL P. HOPE, MARISA A.
            PIZZOLATO, AND DILPREET K. RAI PRO HAC VICE

       Pursuant to Local Rule 83.5.3 and Case Management Order (“CMO”) No. 1, Melissa B.

Coffey, a member in good standing of the bar of this Court, moves for the admission in this case

of Rohini C. Gandhi, Daniel P. Hope, Marisa A. Pizzolato, and Dilpreet K. Rai as counsel for

defendant Novartis Pharmaceuticals Corporation (“Novartis”).

       As set forth in the accompanying certificates, attached as Exhibits A through D, Rohini

A. Gandhi, Daniel P. Hope, Marisa A. Pizzolato, and Dilpreet K. Rai each certifies that (1) he or

she is a member of the bar in good standing in every jurisdiction where he or she has been

admitted to practice, (2) there are no disciplinary proceedings pending against him or her as a

member of the bar in any jurisdiction, and (2) he or she is familiar with the Local Rules of the

United States District Court for the District of Massachusetts.

       I have filed an appearance in this action on behalf of Novartis as required by Local Rule

83.5.3(b).
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                                          Respectfully Submitted,

                                          _/s/___Melissa B. Coffey____________
                                          Melissa B. Coffey (BBO # 660750)
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                                          Boston, Massachusetts 02109
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                                          Attorney for Novartis Pharmaceuticals
                                          Corporation


Dated: March 9, 2010




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                                CERTIFICATE OF SERVICE

        I, Melissa Coffey, certify that, on March 9, 2010, I caused a copy of the foregoing
document to be delivered to all counsel of record by electronic service pursuant to Case
Management Order No. 2 by sending a copy to LexisNexis File & Serve for posting and
notification to all parties.

                                             /s/ Melissa B. Coffey
                                             Melissa B. Coffey




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